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                        6 VIRAL PROTECTION SOLUTIONS
                          LLC, a Texas Limited Liability Company,
                        7 and MEDISTAR CORPORATION, a
                          Texas Corporation
                        8
                                                UNITED STATES DISTRICT COURT
                        9
                                  CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                       10
                       11
                          SHENZHEN YAPU TECH. CO., LTD.                   Case No. 2:22-cv-01403-SK
                       12 and SICHUAN WURUI TECH. CO.,
                          LTD.,                                           DEFENDANTS, INTEGRATED
                       13                                                 VIRAL PROTECTION
                                       Plaintiffs,                        SOLUTIONS LLC and MEDISTAR
                       14                                                 CORPORATION’s ANSWER TO
                                 v.                                       PLAINTIFFS’ COMPLAINT FOR
                       15                                                 BREACH OF CONTRACT,
                          INTEGRATED VIRAL PROTECTION                     CONVERSION, NEGLIGENT
                       16 SOLUTIONS LLC, a Texas Limited                  MISREPRESENTATION,
                          Liability Company, and MEDISTAR                 FRAUDULENT
                       17 CORPORATION, a Delaware                         MISREPRESENTATION AND
                          Corporation,                                    FRAUD; COUNTERCLAIM; AND
                       18                                                 DEMAND FOR JURY
                                       Defendants.
                       19
                       20
                                  Defendants, INTEGRATED VIRAL PROTECTION SOLUTIONS LLC
                       21
                            (hereinafter “IVP”), and MEDISTAR CORPORATION (hereinafter “MEDISTAR”)
                       22
                            (IVP and MEDISTAR are hereinafter collectively referred to as "Defendants") hereby
                       23
                            respectfully submit their Answer (hereinafter “Answer”) to Plaintiffs, SHENZHEN
                       24
                            YAPU TECH. CO., LTD. and SICHUAN WURUI TECH. CO., LTD.’s, (hereinafter
                       25
                            "Plaintiffs”)   Complaint    for    Breach    of   Contract,   Conversion,     Negligent
                       26
                            Misrepresentation,     Fraudulent     Misrepresentation     and     Fraud    (hereinafter
                       27
                            "COMPLAINT"), INTEGRATED VIRAL PROTECTION SOLUTIONS LLC’s
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &         DEFENDANTS, INTEGRATED VIRAL PROTECTION SOLUTIONS LLC and MEDISTAR CORPORATION’s ANSWER TO
   CARRUTH LLP                PLAINTIFFS’ COMPLAINT FOR BREACH OF CONTRACT, CONVERSION, NEGLIGENT MISREPRESENTATION,
7647 NORTH FRESNO STREET
    FRESNO, CA 93720               FRAUDULENT MISREPRESENTATION AND FRAUD; COUNTERCLAIM; AND DEMAND FOR JURY
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                           1 Counterclaim for Breach of Contract, Breach of Warranties, and Demand for Jury as
                           2 follows:
                           3                                          ANSWER
                           4         1.     Defendants admit the allegations of Paragraphs 1, 9, 18 and 20 of the
                           5 COMPLAINT.
                           6         2.     Defendants deny the allegations at Paragraphs 7, 12, 15, 19, 27, 37, 38,
                           7 39, 40, 41, 45, 46, 48, 51, 52, 53, 54, 55, 57, 58, 60, 61, 62, 63, 64, 66, 67, 69, 70,
                           8 71, 72, 73 and the PRAYER FOR RELIEF, to include Sub-Paragraphs, a), b), c), d),
                           9 e), f), g), h) and i), of the COMPLAINT.
                       10            3.     Defendants lack knowledge or information sufficient to form a belief
                       11 about the truth of the allegations in Paragraphs 2, 3, 50, 59, 68 of the COMPLAINT
                       12 and therefore, deny the same.
                       13            4.     Defendants object to Paragraph 4 of the COMPLAINT on the grounds
                       14 that it is overbroad, vague, ambiguous and argumentative. Defendants admit that
                       15 MEDISTAR is a real estate development company with a business address of 7670
                       16 Woodway, Suite 160, Houston, Texas 77063-1594. Defendants deny all remaining
                       17 allegations of Paragraph 4 of the COMPLAINT.
                       18            5.     Defendants admit IVP sold portable air purifiers to customers and
                       19 distributors throughout the United States and the world, and that IVP’s business
                       20 address is 7670 Woodway, Suite 165, Houston, Texas 77063-1594 as alleged in
                       21 Paragraph 5 of the COMPLAINT. Defendants deny all remaining allegations of
                       22 Paragraph 5 of the COMPLAINT.
                       23            6.     Defendants deny those portions of Paragraph 6 of the COMPLAINT that
                       24 allege that MEDISTAR is a Delaware Corporation. Defendants admit the remaining
                       25 allegations of Paragraph 6 of the COMPLAINT.
                       26            7.     Defendants object to Paragraph 8 of the COMPLAINT on the grounds
                       27 that it is overbroad, vague, ambiguous and argumentative. Defendants admit that
                       28 Monzer Hourani is the agent for service of process for MEDISTAR and IVP.
MCCORMICK, BARSTOW,
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 SHEPPARD, W AYTE &            DEFENDANTS, INTEGRATED VIRAL PROTECTION SOLUTIONS LLC and MEDISTAR CORPORATION’s ANSWER TO
   CARRUTH LLP                   PLAINTIFFS’ COMPLAINT FOR BREACH OF CONTRACT, CONVERSION, NEGLIGENT MISREPRESENTATION,
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                           1 Defendants deny all remaining allegations of Paragraph 8 of the COMPLAINT.
                           2         8.      Defendants object to Paragraph 10 of the COMPLAINT on the grounds
                           3 that it is overbroad, vague, ambiguous and argumentative. Defendants deny those
                           4 portions of Paragraph 10 that allege MEDISTAR actively publishes on its website.
                           5 Defendants admit those portions of Paragraph 10 of the COMPLAINT that allege IVP
                           6 and MEDISTAR are located near one another on the same street. Defendants lack
                           7 knowledge or information sufficient to form a belief about the meaning of the
                           8 remaining allegations of Paragraph 10 of the COMPLAINT, and, therefore, deny the
                           9 remaining allegations in Paragraph 10 of the COMPLAINT.
                       10            9.     Defendants object to Paragraph 11 of the COMPLAINT on the grounds
                       11 that it is overbroad, vague, ambiguous and argumentative. Defendants deny those
                       12 portions of Paragraph 11 that allege MEDISTAR actively publishes on its website.
                       13 Defendants admit that the authors of the publication alleged in Paragraph 11 of the
                       14 COMPLAINT included G.K. Peel and M. Hourani. Defendants deny the allegation
                       15 of Paragraph 11 of the COMPLAINT that G.K. Peel was of MEDISTAR. Defendants
                       16 lack knowledge or information sufficient to form a belief about the meaning of the
                       17 remaining allegations of Paragraph 11 of the COMPLAINT, and, therefore, deny the
                       18 remaining allegations in Paragraph 11 of the COMPLAINT.
                       19            10.    Defendants object to Paragraph 12 of the COMPLAINT on the grounds
                       20 that it is overbroad, vague, ambiguous and argumentative. Defendants admit that the
                       21 products sold by IVP can be used in the real estate developments of MEDISTAR.
                       22 Defendants deny the remaining allegations of Paragraph 12 of the COMPLAINT.
                       23            11.    Defendants object to Paragraph 13 of the COMPLAINT on the grounds
                       24 that it is overbroad, vague, ambiguous and argumentative. Defendants deny the
                       25 allegations of Paragraph 13 of the COMPLAINT.
                       26            12.    Defendants object to Paragraph 14 of the COMPLAINT on the grounds
                       27 that it is overbroad, vague, ambiguous and argumentative. Defendants deny the
                       28 allegations of Paragraph 14 of the COMPLAINT that allege MEDISTAR regularly
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 SHEPPARD, W AYTE &            DEFENDANTS, INTEGRATED VIRAL PROTECTION SOLUTIONS LLC and MEDISTAR CORPORATION’s ANSWER TO
   CARRUTH LLP                   PLAINTIFFS’ COMPLAINT FOR BREACH OF CONTRACT, CONVERSION, NEGLIGENT MISREPRESENTATION,
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                           1 paid invoices and other obligations on behalf of IVP. Defendants admit the remaining
                           2 allegations of Paragraph 14 of the COMPLAINT.
                           3         13.    Defendants object to Paragraph 16 of the COMPLAINT on the grounds
                           4 that it is overbroad, vague, ambiguous and argumentative. Defendants deny the
                           5 allegations of Paragraph 16 of the COMPLAINT that allege MEDISTAR conducts
                           6 business in California and that MEDISTAR is currently developing he alleged
                           7 Stockton Regional Hospital and that MEDISTAR developed the alleged Kerlan-Jobe
                           8 Orthopedic Clinic and has ongoing obligations and liabilities associated therewith.
                           9 Defendants admit that IVP has California customers and shipped and imported
                       10 products in this District. Defendants deny all remaining allegations of Paragraph 16
                       11 of the COMPLAINT.
                       12            14.    Defendants object to Paragraph 17 of the COMPLAINT on the grounds
                       13 that it is overbroad, vague, ambiguous and argumentative.                    Defendants lack
                       14 knowledge or information sufficient to form a belief about the meaning of the
                       15 remaining allegations of Paragraph 17 of the COMPLAINT, and, therefore, deny the
                       16 remaining allegations in Paragraph 17 of the COMPLAINT.
                       17            15.    Defendants object to Paragraph 21 of the COMPLAINT on the grounds
                       18 that it is overbroad, vague, ambiguous and argumentative. Defendants deny that
                       19 MEDISTAR is subject to the personal jurisdiction in this District. Defendants admit
                       20 that IVP is subject to personal jurisdiction in this District.               Defendants lack
                       21 knowledge or information sufficient to form a belief about the meaning of the
                       22 remaining allegations of Paragraph 21 of the COMPLAINT, and, therefore, deny the
                       23 remaining allegations in Paragraph 21 of the COMPLAINT.
                       24            16.    Defendants object to Paragraph 22 of the COMPLAINT on the grounds
                       25 that it is overbroad, vague, ambiguous and argumentative. Defendants admit that IVP
                       26 placed purchase orders for air purifiers with Sichuan WuRui Tech. Co., LTD.
                       27 Defendants lack knowledge or information sufficient to form a belief about the
                       28 remaining allegations of Paragraph 22 of the COMPLAINT, and, therefore, deny the
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 SHEPPARD, W AYTE &            DEFENDANTS, INTEGRATED VIRAL PROTECTION SOLUTIONS LLC and MEDISTAR CORPORATION’s ANSWER TO
   CARRUTH LLP                   PLAINTIFFS’ COMPLAINT FOR BREACH OF CONTRACT, CONVERSION, NEGLIGENT MISREPRESENTATION,
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                           1 remaining allegations in Paragraph 22 of the COMPLAINT.
                           2         17.    Defendants object to Paragraph 23 of the COMPLAINT on the grounds
                           3 that it is overbroad, vague, ambiguous and argumentative.                 Defendants lack
                           4 knowledge or information sufficient to form a belief about the allegations that
                           5 Plaintiffs did not have existing shipping channels to the United States, and, therefore,
                           6 deny said allegations in Paragraph 23 of the COMPLAINT. Defendants deny the
                           7 remaining allegations of Paragraph 23 of the COMPLAINT.
                           8         18.    Defendants object to Paragraph 24 of the COMPLAINT on the grounds
                           9 that it is overbroad, vague, ambiguous and argumentative. Defendants deny the
                       10 allegations as phrased in Paragraph 24 of the COMPLAINT.
                       11            19.    Defendants object to Paragraph 25 of the COMPLAINT on the grounds
                       12 that it is overbroad, vague, ambiguous and argumentative. Defendants admit that IVP
                       13 placed purchase orders with Sichuan WuRui Tech. Co., LTD. Defendants lack
                       14 knowledge or information sufficient to form a belief about the remaining allegations
                       15 of Paragraph 25 of the COMPLAINT, and, therefore, deny the remaining allegations
                       16 in Paragraph 25 of the COMPLAINT.
                       17            20.    Defendants object to Paragraph 26 of the COMPLAINT on the grounds
                       18 that it is overbroad, vague, ambiguous and argumentative. Defendants admit that IVP
                       19 placed purchase orders with Sichuan WuRui Tech. Co., LTD. Defendants deny that
                       20 IVP did not have funds. Defendants lack knowledge or information sufficient to form
                       21 a belief about the remaining allegations of Paragraph 26 of the COMPLAINT, and,
                       22 therefore, deny the remaining allegations in Paragraph 26 of the COMPLAINT.
                       23            21.    Defendants object to Paragraph 28 of the COMPLAINT on the grounds
                       24 that it is overbroad, vague, ambiguous and argumentative. Defendants admit that IVP
                       25 placed purchase orders with Sichuan WuRui Tech. Co., LTD. and that air purifiers
                       26 were shipped to Los Angeles, California. Defendants lack knowledge or information
                       27 sufficient to form a belief about the remaining allegations of Paragraph 28 of the
                       28 COMPLAINT, and, therefore, deny the remaining allegations in Paragraph 28 of the
MCCORMICK, BARSTOW,
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 SHEPPARD, W AYTE &            DEFENDANTS, INTEGRATED VIRAL PROTECTION SOLUTIONS LLC and MEDISTAR CORPORATION’s ANSWER TO
   CARRUTH LLP                   PLAINTIFFS’ COMPLAINT FOR BREACH OF CONTRACT, CONVERSION, NEGLIGENT MISREPRESENTATION,
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                           1 COMPLAINT.
                           2         22.    Defendants object to Paragraph 29 of the COMPLAINT on the grounds
                           3 that it is overbroad, vague, ambiguous and argumentative. Defendants admit that IVP
                           4 placed purchase orders with Sichuan WuRui Tech. Co., LTD. and that a request was
                           5 made of IVP for payment in an amount in excess of $1.4 million. Defendants lack
                           6 knowledge or information sufficient to form a belief about the remaining allegations
                           7 of Paragraph 29 of the COMPLAINT, and, therefore, deny the remaining allegations
                           8 in Paragraph 29 of the COMPLAINT.
                           9         23.     Defendants object to Paragraph 30 of the COMPLAINT on the grounds
                       10 that it is overbroad, vague, ambiguous and argumentative. Defendants admit that IVP
                       11 placed purchase orders with Sichuan WuRui Tech. Co., LTD.                    Defendants lack
                       12 knowledge or information sufficient to form a belief about the remaining allegations
                       13 of Paragraph 30 of the COMPLAINT, and, therefore, deny the remaining allegations
                       14 in Paragraph 30 of the COMPLAINT.
                       15            24.    Defendants object to Paragraph 31 of the COMPLAINT on the grounds
                       16 that it is overbroad, vague, ambiguous and argumentative. Defendants admit that IVP
                       17 placed purchase orders with Sichuan WuRui Tech. Co., LTD.                    Defendants lack
                       18 knowledge or information sufficient to form a belief about the remaining allegations
                       19 of Paragraph 31 of the COMPLAINT, and, therefore, deny the remaining allegations
                       20 in Paragraph 31 of the COMPLAINT.
                       21            25.    Defendants object to Paragraph 32 of the COMPLAINT on the grounds
                       22 that it is overbroad, vague, ambiguous and argumentative. Defendants admit that
                       23 requests were made of IVP for payment. Defendants lack knowledge or information
                       24 sufficient to form a belief about the remaining allegations of Paragraph 32 of the
                       25 COMPLAINT, and, therefore, deny the remaining allegations in Paragraph 32 of the
                       26 COMPLAINT.
                       27            26.    Defendants object to Paragraph 33 of the COMPLAINT on the grounds
                       28 that it is overbroad, vague, ambiguous and argumentative. Defendants admit that IVP
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 SHEPPARD, W AYTE &            DEFENDANTS, INTEGRATED VIRAL PROTECTION SOLUTIONS LLC and MEDISTAR CORPORATION’s ANSWER TO
   CARRUTH LLP                   PLAINTIFFS’ COMPLAINT FOR BREACH OF CONTRACT, CONVERSION, NEGLIGENT MISREPRESENTATION,
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                           1 made a payment to UPS. Defendants deny the remaining allegations in Paragraph 33
                           2 of the COMPLAINT.
                           3         27.    In response to Paragraph 34 of the COMPLAINT, Defendant
                           4 incorporates the preceding paragraphs of its Answer as if fully set forth herein.
                           5         28.    Defendants object to Paragraph 35 of the COMPLAINT on the grounds
                           6 that it is overbroad, vague, ambiguous and argumentative.           Defendants admit the
                           7 allegations in Paragraph 35 that IVP placed purchase orders with Sichuan WuRui
                           8 Tech. Co., LTD. and that IVP Sichuan WuRui Tech. Co. had an ongoing business
                           9 relationship with a contract with Sichuan WuRui Tech. Co., LTD. to provide air
                       10 purifiers that met IVP’s specifications, at the prices agreed upon by IVP and Sichuan
                       11 WuRui Tech. Co., LTD.             Defendants lack knowledge or information sufficient to
                       12 form a belief about the remaining allegations of Paragraph 35 of the COMPLAINT,
                       13 and, therefore, deny the remaining allegations in Paragraph 35 of the COMPLAINT.
                       14            29.    Defendants object to Paragraph 36 of the COMPLAINT on the grounds
                       15 that it is overbroad, vague, ambiguous and argumentative. Defendants admit the
                       16 allegations in Paragraph 36 of the COMPLAINT that IVP placed purchase orders with
                       17 Sichuan WuRui Tech. Co., LTD.                 Defendants lack knowledge or information
                       18 sufficient to form a belief about the remaining allegations of Paragraph 36 of the
                       19 COMPLAINT, and, therefore, deny the remaining allegations in Paragraph 36 of the
                       20 COMPLAINT.
                       21            30.    In response to Paragraph 42 of the COMPLAINT, Defendant
                       22 incorporates the preceding paragraphs of its Answer as if fully set forth herein.
                       23            31.    Defendants object to Paragraph 43 of the COMPLAINT on the grounds
                       24 that it is overbroad, vague, ambiguous and argumentative.               Defendants deny the
                       25 allegations in Paragraph 43 of the COMPLAINT that any of their actions were
                       26 wrongful. Defendants lack knowledge or information sufficient to form a belief about
                       27 the remaining allegations of Paragraph 43 of the COMPLAINT, and, therefore, deny
                       28 the remaining allegations in Paragraph 43 of the COMPLAINT.
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 SHEPPARD, W AYTE &            DEFENDANTS, INTEGRATED VIRAL PROTECTION SOLUTIONS LLC and MEDISTAR CORPORATION’s ANSWER TO
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                           1         32.    Defendants object to Paragraph 44 of the COMPLAINT on the grounds
                           2 that it is overbroad, vague, ambiguous and argumentative.                 Defendants lack
                           3 knowledge or information sufficient to form a belief about the remaining allegations
                           4 of Paragraph 44 of the COMPLAINT, and, therefore, deny the remaining allegations
                           5 in Paragraph 44 of the COMPLAINT.
                           6         33.    In response to Paragraph 47 of the COMPLAINT, Defendant
                           7 incorporates the preceding paragraphs of its Answer as if fully set forth herein.
                           8         34.    Defendants object to Paragraph 49 of the COMPLAINT on the grounds
                           9 that it is overbroad, vague, ambiguous and argumentative. Defendants deny that IVP
                       10 could not pay for air purifiers. Defendants lack knowledge or information sufficient
                       11 to form a belief about the remaining allegations of Paragraph 49 of the COMPLAINT,
                       12 and, therefore, deny the remaining allegations in Paragraph 49 of the COMPLAINT.
                       13            35.    In response to Paragraph 56 of the COMPLAINT, Defendant
                       14 incorporates the preceding paragraphs of its Answer as if fully set forth herein.
                       15            36.    In response to Paragraph 65 of the COMPLAINT, Defendant
                       16 incorporates the preceding paragraphs of its Answer as if fully set forth herein.
                       17                                  AFFIRMATIVE DEFENSES
                       18                              FIRST AFFIRMATIVE DEFENSE
                       19                                              (Breach)
                       20            That if any contracts, obligations or agreements as alleged in the COMPLAINT
                       21 have been entered into, any duty or performance of IVP has been excused by reason
                       22 of Plaintiffs’ failure to provide air purifiers to IVP that met the specifications in IVP’s
                       23 contract with SICHUAN WURUI TECH. CO., and, to the extent an agreement is
                       24 determined to have existed with SHENZHEN YAPU TECH. CO., LTD., said plaintiff
                       25 breached said agreement failure to provide air purifiers to IVP that met IVP’s
                       26 specifications.
                       27
                       28
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 SHEPPARD, W AYTE &            DEFENDANTS, INTEGRATED VIRAL PROTECTION SOLUTIONS LLC and MEDISTAR CORPORATION’s ANSWER TO
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                           1                         SECOND AFFIRMATIVE DEFENSE
                           2                                   (Assumption of Risk)
                           3         That Plaintiffs are estopped from asserting the claims alleged in their
                           4 COMPLAINT, as Defendants are informed and believe that Plaintiffs participated in
                           5 the acts complained of by Plaintiffs in their COMPLAINT with IVP’s agent, Zhifeng
                           6 Ren, whom, upon information and belief was a relative and/or friend of Plaintiffs’
                           7 principals.
                           8                           THIRD AFFIRMATIVE DEFENSE
                           9                        (Reservation of Right to Amend Answer)
                       10            Defendants hereby give notice that they intend to rely on such other and further
                       11 affirmative defenses as may become available during discovery in this action and
                       12 reserve the right to amend their answer to assert any such defenses.
                       13
                       14            WHEREFORE. Defendants pray as follows in relation to their Answer:
                       15            1.     That Plaintiffs take nothing by reason of the COMPLAINT and that
                       16 judgment be rendered in favor of Defendants;
                       17            2.     That Defendants be awarded their attorneys’ fees and costs of suit
                       18 incurred in defense of this action; and
                       19            3.     For such other relief as the Court deems proper.
                       20                                       COUNTERCLAIM
                       21                                   STATEMENT OF FACTS
                       22            1.      INTEGRATED          VIRAL         PROTECTION        SOLUTIONS          LLC
                       23 (hereinafter "IVP") is a Texas Limited Liability Company doing business in the State
                       24 of Texas, with its principal office located in the City of Houston, Texas.
                       25            2.     SHENZHEN YAPU TECH. CO., LTD. and SICHUAN WURUI TECH.
                       26 CO., LTD. ("Counterdefendants"), upon information and belief are entities with their
                       27 principle places of business in China.
                       28            3.     SHENZHEN YAPU TECH. CO., LTD. and IVP entered into one or
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 SHEPPARD, W AYTE &            DEFENDANTS, INTEGRATED VIRAL PROTECTION SOLUTIONS LLC and MEDISTAR CORPORATION’s ANSWER TO
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                           1 more contracts for IVP’s purchase of portable air purifiers and their components that,
                           2 pursuant to SHENZHEN YAPU TECH. CO., LTD.’s agreement were to meet IVP’s
                           3 specifications, which included air movement of 500 cubic feet per minute and
                           4 Underwriter Laboratories certification.
                           5         4.     SICHUAN WURUI TECH. CO., LTD. alleges in the COMPLAINT that
                           6 it had one or more contracts with IVP to for the sale of air purification products, and,
                           7 therefore, based upon information and belief, IVP entered into one or more contracts
                           8 for IVP’s purchase of portable air purifiers and their components that, pursuant to
                           9 SICHUAN WURUI TECH. CO., LTD.’s agreement, were to meet IVP’s
                       10 specifications, which included air movement of 500 cubic feet per minute and
                       11 Underwriter Laboratories certification.
                       12            5.     The air purifiers and their components that Counterdefendants provided
                       13 to IVP pursuant to said contracts did not meet IVP’s specifications that required air
                       14 movement of 500 cubic feet per minute and Underwriter Laboratories certification,
                       15 and in many instances the air purifiers did not work.
                       16            6.     IVP’s customers to whom IVP sold the air purifiers have complained
                       17 about the performance of the air purifiers, and IVP has incurred costs and expenses
                       18 of at least $1,306,074.00 in attempting to remedy and/or retrofit the nonconforming
                       19 and nonperforming air purifiers that IVP sold to its customers.
                       20            7.     Due to Counterdefendants’ failure to provide the air purifiers and their
                       21 components as specified by IVP, IVP will be required to repurchase, at the total retail
                       22 sum of $1,474,796.00, air purifiers it has sold to its customers.
                       23            8.     Due to Counterdefendants’ failure to provide the air purifiers as specified
                       24 by IVP, IVP has lost profits, future sales and damage to its reputation.
                       25                      FIRST CLAIM FOR BREACH OF CONTRACT
                       26            9.     IVP incorporates and realleges Paragraphs 1 through 8 of its
                       27 Counterclaim alleged above as though fully set forth herein.
                       28            10.    Counterdefendants breached the contract to provide air purifiers as
MCCORMICK, BARSTOW,
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 SHEPPARD, W AYTE &            DEFENDANTS, INTEGRATED VIRAL PROTECTION SOLUTIONS LLC and MEDISTAR CORPORATION’s ANSWER TO
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                           1 specified by IVP.
                           2         11.    Based upon information and belief, IVP performed each and every
                           3 obligation required of it under the one or more contracts with Counterdefendants,
                           4 except those of which IVP was prevented from performing by the actions or inactions
                           5 of Counterdefendants, or those of which were excused or waived by
                           6 Counterdefendants.
                           7         12.    As a proximate result of Counterdefendants’ actions and breaches, IVP
                           8 has been damaged in an amount to be proven at trial.
                           9                   SECOND CLAIM FOR BREACH OF EXPRESS
                                                    AND IMPLIED WARRANTIES
                       10
                                     13.    IVP incorporates and realleges Paragraphs 1 through 12 of its
                       11
                               Counterclaim alleged above as though fully set forth herein.
                       12
                                     14.    Pursuant    to   the    contract    or   contracts    between     IVP    and
                       13
                               Counterdefendants, Counterdefendants were required to comply with each and every
                       14
                               term and condition contained in the contracts, including the express and implied
                       15
                               warranties that the air purifiers provided were of first class workmanship,
                       16
                               merchantable and in a proper condition for their intended use and purpose, to include
                       17
                               meeting specifications that required air movement of 500 cubic feet per minute and
                       18
                               Underwriter Laboratories certification.
                       19
                                     15.    IVP relied upon the warranties described in Paragraph 14 of this
                       20
                               Counterclaim and believed that the Air purifiers and their components were
                       21
                               manufactured and provided in a first-class and workmanlike manner and met the
                       22
                               specifications that that required air movement of 500 cubic feet per minute and
                       23
                               Underwriter Laboratories certification and, as a result, said air purifiers and their
                       24
                               components were fit for their intended use and purpose
                       25
                                     16.     Counterdefendants breached their warranties in that the air purifiers and
                       26
                               their components were not provided and furnished as represented and warranted,
                       27
                               including but not limited to the failure to meet IVP’s specifications that required air
                       28
MCCORMICK, BARSTOW,
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 SHEPPARD, W AYTE &            DEFENDANTS, INTEGRATED VIRAL PROTECTION SOLUTIONS LLC and MEDISTAR CORPORATION’s ANSWER TO
   CARRUTH LLP                   PLAINTIFFS’ COMPLAINT FOR BREACH OF CONTRACT, CONVERSION, NEGLIGENT MISREPRESENTATION,
7647 NORTH FRESNO STREET
    FRESNO, CA 93720                  FRAUDULENT MISREPRESENTATION AND FRAUD; COUNTERCLAIM; AND DEMAND FOR JURY
               Case 2:22-cv-01403-GW-JPR Document 14 Filed 05/13/22 Page 12 of 13 Page ID #:99




                           1 movement of 500 cubic feet per minute and Underwriter Laboratories certification,
                           2 and in many instances the air purifiers did not work.
                           3         17.    As a proximate result of Counterdefendants’ breach of the express and
                           4 implied warranties, IVP has been damaged in an amount to be proven at trial.
                           5         18.    This Counterclaim will serve as notice that Counterdefendants’ air
                           6 purifiers and their components were not manufactured and provided in a first-class
                           7 and workmanlike manner and did not meet the specifications that that required air
                           8 movement of 500 cubic feet per minute and Underwriter Laboratories certification,
                           9 such conditions, and Counterdefendants have not repaired or remedied these breaches
                       10 of express and implied warranties.
                       11                        THIRD CLAIM FOR INJUNCTIVE RELIEF
                       12            19.    IVP incorporates and realleges Paragraphs 1 through 18 of its
                       13 Counterclaim alleged above as though fully set forth herein.
                       14            20.    That by virtue of assignments recorded in the Assignment Recordation
                       15 Branch of the U.S. Patent and Trademark Office at reels/frames 054681/0787 and
                       16 054682/066, IVP possesses the rights and interests of the U.S. patent applications
                       17 corresponding to these publications (hereinafter “The Patents”).
                       18            21.    IVP is informed and believes that individuals whom are not current
                       19 employees and/or agents of IVP will and/or have contacted and/or made contact with
                       20 Counterdefendants to manufacturer, sell and or provide air purifiers and/or products
                       21 in violation of IVP’s rights and interests in The Patents.
                       22            22.    That Counterdefendants’ manufacture, sale or provision of products in
                       23 violation of IVP’s rights and interests in that The Patents will cause irreparable harm
                       24 to IVP, for which monetary damages will not be sufficient, and, therefore, injunctive
                       25 relief is the appropriate and adequate remedy at law.
                       26                                             PRAYER
                       27            WHEREFORE, IVP prays as follows in relation to its Counterclaims:
                       28            1.     An adjudication that SHENZHEN YAPU TECH. CO., LTD. and
MCCORMICK, BARSTOW,
                                                                          12
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                           1 SICHUAN WURUI TECH. CO., LTD. have breached contracts with IVP;
                           2            2.        An adjudication that SHENZHEN YAPU TECH. CO., LTD. and
                           3 SICHUAN WURUI TECH. CO., LTD. have breached warranties with IVP;
                           4            3.        That IVP be granted an award of actual damages adequate to compensate
                           5 it for breaches of contract and warranties, plus pre- and post-judgment interest
                           6 thereon;
                           7            4.        That IVP be awarded its attorneys’ fees and costs;
                           8            5.        That the Court enter an injunction permanently restraining and enjoining
                           9 Counterdefendants from selling or attempting to sell products of IVP;
                       10               6.        That the Court enter an injunction permanently restraining and enjoining
                       11 Counterdefendants from making unauthorized and unlawful disclosures of, or
                       12 attempts to improperly acquire, use or sell IVP’s intellectual property; and
                       13               7.        For such other and further relief as the Court deems just and proper.
                       14                                          DEMAND FOR JURY
                       15               Defendants, pursuant to Rule 38(b) of the Federal Rules of Civil Procedure,
                       16 hereby demand a trial by jury on any and all issues triable to the jury.
                       17
                       18 Dated: May 13, 2022                               McCORMICK, BARSTOW, SHEPPARD,
                                                                                WAYTE & CARRUTH LLP
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                                                                          By:          /s/Hagop T. Bedoyan
                       21
                                                                                      Hagop T. Bedoyan
                       22                                                  Attorneys for Defendants INTEGRATED
                                                                          VIRAL PROTECTION SOLUTIONS LLC, a
                       23
                                                                             Texas Limited Liability Company, and
                       24                                                   MEDISTAR CORPORATION, a Texas
                                                                                          Corporation
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